Case 8:21-cv-00839-SDM-AAS Document 95 Filed 07/06/21 Page 1 of 2 PageID 3533




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


 STATE OF FLORIDA,

                Plaintiff,

                      v.                     Case No. 8:21-cv-839-SDM-AAS

 XAVIER BECERRA, Secretary of the
 Dep’t of Health and Human Services,
 et al.,
               Defendants.



                                NOTICE OF APPEAL

      PLEASE TAKE NOTICE that all Defendants (Xavier Becerra, Secretary of

Health and Human Services; Rochelle Walensky, director of the Centers for Disease

Control and Prevention (“CDC”); the CDC; and the United States of America)

hereby appeal to the United States Court of Appeals for the Eleventh Circuit from

this Court’s Order dated June 18, 2021, ECF No. 91.


Dated: July 6, 2021                    Respectfully submitted,

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Case 8:21-cv-00839-SDM-AAS Document 95 Filed 07/06/21 Page 2 of 2 PageID 3534




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